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 1 DONALD M. RÉ, SBN 49079
   A Professional Law Corporation
 2 One Wilshire Building
   624 S. Grand Avenue, 22nd Floor
 3
   Los Angeles, California 90017
 4 Telephone: (213) 623-4234
   Email: donaldmreplc@yahoo.com
 5
   Attorney for Defendant
 6 HUNG CAO NGUYEN

 7

 8                                UNITED STATES DISTRICT COURT

 9                              EASTERN DISTRICT OF CALIFORNIA
10

11 UNITED STATES OF AMERICA,                   )                CASE NO. 2:15-CR-0234-JAM
                                               )
12                     Plaintiff,              )                STIPULATION TO CONTINUE
                                               )                SENTENCING AND ORDER
13               v.                            )
                                               )                Current date: June 27, 2017
14   HUNG CAO NGUYEN,                          )                Proposed date: August 22, 2017
15                                             )
                       Defendant.              )
16   __________________________________________)

17
            COME NOW Plaintiff, United States of America, by and through its counsel of record,
18

19 United States Attorney, PHILLIP A. TALBERT, and Assistant United States Attorney, JASON

20 HITT, and the defendant, HUNG CAO NGUYEN, by and through his counsel of record,

21 DONALD M. RÉ, who do hereby stipulate as follows:

22
            1. That the sentencing in this matter be continued from June 27, 2017 at 9:15 a.m. to
23
     August 22, 2017 at 9:15 a.m, in Courtroom 6.
24
            2. This continuance is requested because the undersigned counsel’s trial schedule
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     throughout the month of April does not permit sufficient time to arrange and conduct an
26

27 appropriate interview with the United States Probation Office, and to provide relevant materials to

28 that office.
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 1         3. United States Probation Officer Lynda Moore, has not objection to this setting.

 2 IT IS SO STIPULATED.                         Respectfully submitted,
 3
     Dated: March 29, 2017                      PHILLIP A. TALBERT
 4                                              United States Attorney

 5                                              By:          /s/
                                                JASON HITT
 6                                              Assistant United States Attorney
                                                Attorney for Plaintiff
 7
                                                United States of America
 8

 9 Dated: March 29, 2017                        By:          /s/
                                                DONALD M. RÉ
10                                              Attorney for Defendant
11                                              HUNG CAO NGUYEN

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14

15                                              ORDER

16         IT IS HEREBY ORDERED that:

17         The sentencing in this matter is continued from June 27, 2017 at 9:15 a.m. to August 22,
18 2017 at 9:15 a.m. in Courtroom 6.

19
           IT IS SO ORDERED.
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21 Dated: 3/29/2017                             /s/ John A. Mendez_______________________
                                                HONORABLE JOHN A. MENDEZ
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                                                UNITED STATES DISTRICT COURT JUDGE
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